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   8   Attorneys for Defendants
       State of California (by and through the
   9   California Highway Patrol); Gilbert
       Caldera; Heraclio Cardenas; Robert
 10    Gonzales; Fernando Alvarez; Salvador
       Acevedo; Wesley Boerner; DeeAnn Goudie;
 11    and Jason Graham
 12                   IN THE UNITED STATES DISTRICT COURT
 13               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 14
 15 ALEXIS YANCY, et al.,
 16                                    Plaintiffs, Case No.: 15-cv-0580 JM (PCL)
                 v.                                and related case of 15-cv-334 JM
 17                                                (PCL)
 18 STATE OF CALIFORNIA;
    CALIFORNIA HIGHWAY PATROL, et        DECLARATION OF EDWARD P.
                                         WOLFE IN SUPPORT OF
 19 al.                                  DEFENDANTS’ OPPOSITION TO
 20                        Defendants. PLAINTIFFS’      MOTION IN
                                         LIMINE TO EXCLUDE
                                         DEFENDANTS’ CUMULATIVE
 21 LAWANDA MOSES, et al.,               EXPERT WITNESS TESTIMONY
 22                          Plaintiffs, FROM GARY VILKE, M.D.
                v.                       [Motion in Limine # 4 of 6]
 23
 24 STATE  OF CALIFORNIA;
    CALIFORNIA HIGHWAY PATROL, et Courtroom:         5D
                                         Judge:      Hon. Jeffrey T. Miller
 25 al.
    Defendants.
 26                                      Action Filed:    3/13/2015
 27
 28
                                                  1
                 Defendants’ Opposition to Plaintiffs’ Motion in Limine # 4 (15-cv-0580 JM (PCL))
Case 3:15-cv-00580-JM-PCL Document 141-1 Filed 09/21/17 PageID.2145 Page 2 of 2



   1        I, Edward P. Wolfe, declare:
   2        1.   I am a Deputy Attorney General employed by the California Department
   3   of Justice. I am licensed to practice law in the courts of the State of California and
   4   am admitted to practice in the United States District Court for the Southern District
   5   of California. I am assigned to represent the defendants in this matter. I have
   6   personal knowledge of each fact stated in this declaration, except where stated upon
   7   information and belief, and as to those matters, I believe them to be true. If called as
   8   a witness, I could and would competently testify to the following:
   9        2.   Attached as Exhibit 1 is a true and accurate copy of Plaintiffs’ Expert
 10    Witness Reports, dated February 27, 2017, including the reports of Dr. Werner
 11    Spitz and Dr. Richard Boehme.
 12         3.   Attached as Exhibit 2 is a true and accurate copy of excerpts of the
 13    August 2, 2017 deposition of Gary M. Vilke, M.D.
 14         4.   Attached as Exhibit 3 is a true and accurate copy of Exhibit 8 to the
 15    August 2, 2017 deposition of Gary M. Vilke M.D., which is Dr. Vilke’s curriculum
 16    vitae.
 17         5.   Attached as Exhibit 4 is a true and accurate copy of excerpts of the
 18    August 17, 2017 deposition of Dr. Michael Alan Graham.
 19         6.   Attached as Exhibit 5 is a true and accurate copy of Exhibit 4 to the
 20    August 17, 2017 deposition of Dr. Michael Alan Graham, which is Dr. Graham’s
 21    curriculum vitae.
 22         I declare under penalty of perjury under the laws of the State of California and
 23    the United States of America that the foregoing is true and correct, and that this
 24    declaration is executed this 21st day of September 2017 in San Diego, California.
 25
 26                                                      s/Edward P. Wolfe
 27                                                      Edward P. Wolfe
 28
                                                    2
                   Defendants’ Opposition to Plaintiffs’ Motion in Limine # 4 (15-cv-0580 JM (PCL))
